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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

SECOND             AMENDMENT                  §
FOUNDATION, INC., RAINIER ARMS,               §
LLC, SAMUEL WALLEY, and WILLIAM               §
GREEN,                                        §
                                              §
                 Plaintiffs,                  §
                                              §
                 v.                           §    Case No. 3:21-cv-00116-B
                                              §
BUREAU OF ALCOHOL, TOBACCO,                   §
FIREARMS AND EXPLOSIVES, STEVEN               §
M. DETTELBACH, in his official capacity as    §
Director of the Bureau of Alcohol, Tobacco,   §
Firearms, and Explosives, UNITED              §
STATES DEPARTMENT OF JUSTICE,                 §
and MERRICK B. GARLAND, in his official       §
capacity as Attorney General of the United    §
States,

                  Defendants.


                      Plaintiﬀs’ Emergency Motion for Clarification
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                         Plaintiﬀs’ Emergency Motion for Clarification

       Plaintiﬀs file this emergency motion for clarification of the Court’s Document 100 Order

of October 10, 2023. Defendants do not oppose the motion’s request for clarification.

       The issue in need of clarification is the current injunction and stay’s end date. The Court’s

order of October 10 says that the “current injunction and stay will expire on October 13, 2023,”

which is before the October 18 hearing on Plaintiﬀs’ Motion for a Preliminary Injunction. There

are serious reasons to suspect that the Court may have intended the expiration to occur well after

the evidentiary hearing—such as perhaps November 13 instead of October 13. Namely, an October

13 expiration date is inconsistent with the Court’s prior injunction orders. At every key instance

so far, the Court has opted to preserve the status quo for at least as long as it takes to fully resolve

Plaintiﬀs’ Motion for a Preliminary Injunction. A later expiration date such as November 13 is

consistent with those prior orders, and would continue to merely “preserve the status quo until the

substantive motion...can be considered on the merits, and [would] not constitute in any way a

decision as to the merits of the motion.” Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir. 2019).

                                             Conclusion

       The Court should grant the motion and clarify the injunction and stay’s expiration date.

                                                       Respectfully submitted,

                                                       /s/ Chad Flores
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